Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 1 of 8 PageID: 382
Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 2 of 8 PageID: 383
Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 3 of 8 PageID: 384
Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 4 of 8 PageID: 385
Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 5 of 8 PageID: 386
Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 6 of 8 PageID: 387
Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 7 of 8 PageID: 388
Case 2:06-cr-00798-KSH   Document 60   Filed 01/05/09   Page 8 of 8 PageID: 389
